        /,?            Case 1:19-mj-06087-MPK Document 33 Filed 03/18/19 Page 1 of 1
        .
AO 442 (Rev. 11/11) Arrest Warrant



                                         UNITED STATES DISTRICT COURT
                                                                  for the
                                                         District of Massachusetts

                   United States of America
                                 V.                                 )
                     FELICITY HUFFMAN                               )       Case No.   19-MJ-6087-M PK
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                            Defendant
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                                                     ARREST WARRANT                                                           •Zr-
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To:         Any authorized law enforcement officer                                                                               ::0
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                                                                                                                                n
                                                                                                                                r,,
            YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested)        FELICITY HUFFMAN
                                 -----------------------------------
who is accused of an offense or violation based on the following document filed with the court:

0 Indictment             O Superseding Indictment          O Information       O Superseding Information           d Complaint
0 Probation Violation Petition             O Supervised Release Violation Petition      O Violation Notice         O Order of the Court

This offense is briefly described as follows:                                                                       ......,

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  Conspiracy to Commit Mail Fraud and Honest Services Mail Fraud (18 U.S.C. § 1349)                                 ::a:
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                                                                                                                                 ,,
Date:          03/11/2019


City and state:       Boston, MA



                                                                 Return

          This warrant was received on (date)    -------                , and the person was arrested on (date) - - - - - - - ~
at (city and state)


Date:   -------~




                                                                                          Printed name and title
